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                                                      5 Attorney for Defendant/Counterclaimant US TURF, LLC

                                                      6                              UNITED STATES DISTRICT COURT

                                                      7                                       DISTRICT OF NEVADA

                                                      8    UPMANN SANCHEZ TURF AND                      )       Case No. 2:21-cv-01749-JCM-DJA
                                                           LANDSCAPE, INC., dba US Turf,                )
                                                      9                                                 )       STIPULATION AND [PROPOSED]
                                                                                 Plaintiff,             )       ORDER FOR EXTENSION OF TIME TO
                                                     10                                                 )       RESPOND TO PLAINTIFF UPMANN
                                                                  v.                                    )       SANCHEZ TURF AND LANDSCAPE’S
                                                     11                                                 )       OPPOSITION TO US TURF LLC’S
                                                           US TURF, LLC, dba Serenity                   )       MOTION TO STRIKE (ECF NO. 35)
                                                     12    Landscaping,                                 )
                 1180 N. Town Center Dr. Suite 100




                                                                                                        )
                                                     13                          Defendant.             )
Gile Law Group
                       Las Vegas, NV 89144




                                                                                                        )
                                                     14    US TURF, LLC,                                )       (First Request)
                                                                                                        )
                                                     15                          Counterclaimant,       )
                                                                                                        )
                                                     16           v.                                    )
                                                                                                        )
                                                     17    UPMANN SANCHEZ TURF AND                      )
                                                           LANDSCAPE, INC.,                             )
                                                     18                                                 )
                                                                                 Counter-Defendant.     )
                                                     19                                                 )
                                                     20          Pursuant to Local Rules IA 6-1 and IA 6-2, Plaintiff/Counter-Defendant UPMANN

                                                     21 SANCHEZ TURF AND LANDSCAPE, INC. (“Plaintiff”) and Defendant/Counterclaimant US

                                                     22 TURF LLC (“Defendant”) hereby stipulate and agree to an extension of time for Defendant to file

                                                     23 its response to Plaintiff’s Opposition to Defendant’s Motion to Strike (ECF No. 35) (Plaintiff’s

                                                     24 Opposition) from the current deadline of November 28, 2022, to December 5, 2022. This is the

                                                     25 first request by the parties for such an extension.

                                                     26          Defendant’s request for additional time to respond to Plaintiff’s Opposition is to

                                                     27 accommodate the upcoming Thanksgiving holiday along with the expected normal disruptions of

                                                     28 the holiday season. Accordingly, such extension is for good cause and not for purposes of delay.


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                                                      1          THEREFORE, Plaintiff and Defendant hereby stipulate and agree that Defendant’s

                                                      2 deadline to file its response to Plaintiff’s Opposition to Defendant’s Motion to Strike (ECF No.

                                                      3 35) shall be extended to December 5, 2022.

                                                      4
                                                          DATED: November 21, 2022
                                                      5
                                                          IT IS SO AGREED AND STIPULATED:
                                                      6

                                                      7    PROCOPIO, CORY, HARGREAVES &                      GILE LAW GROUP LTD.
                                                           SAVITCH LLP
                                                      8
                                                           /s/ Tiffany Salayer                               /s/ Ryan Gile
                                                      9    Jeffery A. Garofalo (Bar No. 7345)                Ryan Gile, Esq.
                                                     10    E-mail: jeff.garogalo@procopio.com                Nevada Bar No. 8807
                                                           10000 W. Charleston Blvd., Suite 140              rg@gilelawgroup.com
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                                                           Tiffany Salayer (Pro Hac Vice)
                                                     13
Gile Law Group
                       Las Vegas, NV 89144




                                                           E-mail: Tiffany.Salayer@procopio.com              Attorney for
                                                     14    Lisel M. Ferguson (Pro Hac Vice)                  Defendant/Counterclaimant US TURF LLC
                                                           E-mail: lisel.ferguson@procopio.com
                                                     15    PROCOPIO, CORY, HARGREAVES &
                                                           SAVITCH LLP
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                                                           San Diego, CA 92101
                                                     17    Telephone: 619.238.1900
                                                     18
                                                           Attorneys for Plaintiff Upmann Sanchez Turf
                                                     19    and Landscape

                                                     20
                                                                                                     IT IS SO ORDERED:
                                                     21

                                                     22
                                                                                                     _____________________________________
                                                     23                                              UNITED STATES MAGISTRATE JUDGE

                                                     24                                              Dated: November 23, 2022
                                                     25

                                                     26

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                                                      1                                  CERTIFICATE OF SERVICE

                                                      2          I hereby certify that on November 21, 2022, I electronically filed the foregoing document

                                                      3 with the Clerk of the Court using CM/ECF. I further certify that a true and correct copy of the

                                                      4 foregoing document is being served via transmission of Notices of Electronic Filing generated by

                                                      5 CM/ECF to all participants in the case who are registered CM/ECF users.

                                                      6

                                                      7                                               /s/ Ryan Gile
                                                                                                      Employee, Gile Law Group Ltd.
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                       Las Vegas, NV 89144




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